         Case 1:13-cv-01215-TSC Document 193 Filed 03/12/19 Page 1 of 7
 



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

    AMERICAN SOCIETY FOR TESTING
    AND MATERIALS d/b/a/ ASTM
    INTERNATIONAL;

    NATIONAL FIRE PROTECTION
    ASSOCIATION, INC.; and

    AMERICAN SOCIETY OF HEATING,
                                                     Case No. 1:13-cv-01215-TSC
    REFRIGERATING, AND AIR
    CONDITIONING ENGINEERS,

                          Plaintiffs/
                          Counter-Defendants,

    v.

    PUBLIC.RESOURCE.ORG, INC.,

                          Defendant/
                          Counter-Plaintiff.

                             JOINT PROPOSED SCHEDULE

          The Parties jointly submit a stipulated discovery schedule and their respective

proposed briefing schedules pursuant to the Court’s February 26, 2019 Minute Order (the

“Order”).

          The Parties agree to the take the additional discovery in accordance with the

Order. After the Court granted Public Resource’s request to reopen discovery on the

limited matters of fair use and copyright ownership, Plaintiffs now indicate that they

intend to take discovery as well. To allow for document discovery, interrogatories, and

depositions, including depositions of government officials that may take additional time

to schedule, the Parties propose the following schedule:




                                               1
 
        Case 1:13-cv-01215-TSC Document 193 Filed 03/12/19 Page 2 of 7
 



    Event                                                              Deadline

    Deadline for serving additional document requests and              May 27, 2019
    interrogatories
    Deadline for substantial completion of document production         July 19, 2019

    Close of fact discovery                                            September 9, 2019



            In addition, the Parties present their respective proposals for summary judgment

briefing.

            Plaintiffs’ Proposal:

    Event                                                              Deadline

    Cross-motions for summary judgment                                 October 4, 2019
    Amicus briefs                                                      October 18, 2019
    Responses to motions for summary judgment                          November 22, 2019


            Plaintiffs respectfully submit that the parties should not require more than one

month to prepare their cross-motions for summary judgment and one month to prepare

their responses thereto. The parties already briefed the copyright and trademark fair use

issues once before this Court and again before the D.C. Circuit. Nevertheless, Plaintiffs’

schedule provides the parties with significantly more time to respond to the motions for

summary judgment than the 14 days contemplated by Local Rule 7(b). As a result,

Plaintiffs’ proposed briefing schedule fairly balances the parties’ interest in having

adequate time to brief the remaining issues with the prejudice that Plaintiffs are suffering

now that PRO has reposted Plaintiffs’ copyrighted works online.

            On the other hand, PRO’s proposed non-consolidated briefing schedule extends




                                                 2
 
     Case 1:13-cv-01215-TSC Document 193 Filed 03/12/19 Page 3 of 7
 



more than four months beyond the close of fact discovery. As the Court recognized the

last time that PRO sought this type of protracted briefing schedule, “the longer those

documents are up there, the greater the harm that [Plaintiffs] allege they’re suffering.”

11/4/15 Tr. at 7:10-12. As a result, the Court asked PRO if it would agree to take the

standards-at-issue down from the Internet pending a decision on the motion for summary

judgment if PRO wanted a protracted briefing schedule, and PRO agreed to do so. Id. at

19:9-18. The same logic applies this time around, and Plaintiffs respectfully request that

the Court enter a briefing schedule that lasts approximately two months after the close of

fact discovery unless PRO agrees to remove the works-at-issue from the Internet pending

a decision on the cross-motions for summary judgment.

       Finally, Plaintiffs object to PRO’s attempt to force them to file a single brief with

the planitiffs in the AERA case. This is not how the parties previously briefed summary

judgment, and the parties did not file a consolidated brief on appeal. PRO offers no

explanation as to why Plaintiffs should be compelled to consolidate their briefs with the

briefs of numerous plaintiffs in a separate case. It will already be complicated enough for

the three plaintiffs in this case to coordinate their brief given that the D.C. Circuit has

made it clear that the parties and the Court will need to develop a “fuller record”

regarding each of the standards at issue. Requiring Plaintiffs to consolidate the briefing

that addresses each of their works with the works of the three plaintiffs in the AERA case

will unnecessarily complicate and lengthen Plaintiffs’ briefs.

       Defendant’s Proposal




                                               3
 
        Case 1:13-cv-01215-TSC Document 193 Filed 03/12/19 Page 4 of 7
 



            After the close of discovery, Public Resource urges the Court to consolidate

briefing in this case with briefing in the AERA case.1 If these cases return to the D.C.

Circuit, both cases (and their respective standards) will be evaluated together; it is in the

best interests of all parties and the Court to attempt to analyze and categorize all

standards together when conducting the fair use analysis, rather than allowing one case to

proceed ahead of the other. If the Court chooses to consolidate, Public Resource proposes

the following:

    Event                                                                      Deadline

    Consolidated opening cross-motions for summary judgment                    October 17, 2019

    Amicus briefs                                                              November 14, 2019

    Consolidated opposition briefs                                             December 5, 2019

    Consolidated reply briefs                                                  December 19, 2019



            If the Court does not believe that consolidation for the purposes of summary

judgment is appropriate, Public Resource requests a staggered briefing schedule, similar

to the schedule for the first summary judgment briefing, to help ensure that it has an

adequate opportunity to respond to each Plaintiff without overwhelming its pro bono

resources.




1
  While a single, consolidated opening brief by the Plaintiffs in both cases would make the most sense, if
the cases are consolidated on summary judgment Public Resource does not object to the ASTM case
Plaintiffs and the AERA case Plaintiffs choosing to file separate briefs, so long as Public Resource has
adequate opportunity to respond.


                                                     4
 
        Case 1:13-cv-01215-TSC Document 193 Filed 03/12/19 Page 5 of 7
 



    Event                                                             Deadline

    [ASTM] ASTM Plaintiffs’ opening motion for summary                October 17, 2019
    judgment
    [ASTM] Public Resource’s joint opening motion for                 November 14, 2019
    summary judgment/opposition to ASTM Plaintiffs’ motion
    [AERA] AERA Plaintiffs’ opening motion for summary                November 14, 2019
    judgment
    [ASTM] Amicus briefs due                                          December 5, 2019

    [ASTM] Plaintiffs’ joint reply/opposition to Public               December 12, 2019
    Resource’s motion for summary judgment
    [AERA] Public Resource’s joint opening motion for                 December 12, 2019
    summary judgment/opposition to AERA Plaintiffs’ motion
    [ASTM] Public Resource’s reply                                    December 30, 2019

    [AERA] Amicus briefs due                                          January 9, 2020

    [AERA] Plaintiffs’ joint reply/opposition to Public               January 16, 2020
    Resource’s motion for summary judgment
    [AERA] Public Resource’s reply                                    January 30, 2020



            Given that the Court of Appeals dissolved the previous injunction, and that the

Plaintiffs have not sought a preliminary injunction at this stage, Public Resource does not

believe it is either appropriate or necessary to take down the standards at issue pending

summary judgment. Nothing in the current record establishes that the schedule proposed

by Public Resource will subject Plaintiffs to any additional prejudice as compared to

Plaintiffs’ proposal.




                                                 5
 
       Case 1:13-cv-01215-TSC Document 193 Filed 03/12/19 Page 6 of 7
 



    Dated: March 12, 2019        Respectfully submitted,

                                 /s/ J. Kevin Fee
                                 J. Kevin Fee (D.C. Bar: 494016)
                                 Jane W. Wise (D.C. Bar: 1027769)
                                 Morgan, Lewis & Bockius LLP
                                 1111 Pennsylvania Ave., N.W.
                                 Washington, D.C. 20004
                                 Telephone: 202.739.5353
                                 Email: kevin.fee@morganlewis.com
                                 jane.wise@morganlewis.com

                                 Counsel for American Society For Testing And Materials
                                 d/b/a/ ASTM International

                                 /s/ Kelly M. Klaus
                                 Kelly M. Klaus
                                 Rose L. Ehler
                                 Munger, Tolles & Olson LLP
                                 560 Mission St., 27th Floor
                                 San Francisco, CA 94105
                                 Tel: 415.512.4000
                                 Email: Kelly.Klaus@mto.com
                                 Rose.Ehler@mto.com

                                 Counsel for National Fire Protection Association, Inc.

                                 /s/ J. Blake Cunningham
                                 Jeffrey S. Bucholtz (D.C. Bar: 452385)
                                 King & Spalding LLP
                                 1700 Pennsylvania Avenue, NW, Ste. 200
                                 Washington, DC 20006-4707
                                 Tel: 202.737.0500
                                 Email: jbucholtz@kslaw.com

                                 Kenneth L. Steinthal
                                 J. Blake Cunningham
                                 King & Spalding LLP
                                 101 Second Street, Ste. 2300
                                 San Francisco, CA 94105
                                 Tel: 415.318.1211
                                 Email: ksteinthal@kslaw.com
                                 bcunningham@kslaw.com



                                     6
 
    Case 1:13-cv-01215-TSC Document 193 Filed 03/12/19 Page 7 of 7
 



                              Counsel for American Society of Heating, Refrigerating,
                              and Air Conditioning Engineers

                              /s/ Andrew P. Bridges
                              Andrew P. Bridges (D.C. Bar: AR0002)
                              Matthew B. Becker
                              Fenwick & West LLP
                              555 California Street, 12th Floor
                              San Francisco, CA 94104
                              Tel: 415.875.2300
                              Email: abridges@fenwick.com
                                     mbecker@fenwick.com

                              David Halperin
                              1530 P Street, NW
                              Washington DC 20005
                              Tel: 202.905.3434
                              Email: davidhalperindc@gmail.com

                              Corynne McSherry
                              Mitchell Stoltz
                              Electronic Frontier Foundation
                              815 Eddy Street
                              San Francisco, CA 94109
                              Tel: 415.436.9333
                              Email: corynne@eff.org
                              mitch@eff.org

                              Counsel for Public.Resource.Org, Inc.




                                  7
 
